                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                            No. 20-CR-1018-CJW-MAR

 vs.
                                                                ORDER
 PATRICK MILLER WEBB, JR.,

                Defendant.


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        This matter is before the Court on a pro se filing (Doc. 134) from defendant Patrick
Webb, which the Clerk of Court filed as a motion for extension of time to file a motion
pursuant to Title 28, United States Code, Section 2255.
        On December 3, 2021, the Court sentenced defendant to 380 months’ incarceration
after a jury convicted him of distribution of a controlled substance near protected location
and two firearms related offences. (Docs. 76, 110). Defendant filed an appeal, which
the Eighth Circuit Court of Appeals denied on June 12, 2023. (Doc. 126). Webb
subsequently filed a motion, which the Eighth Circuit denied, requesting his prior counsel
turn over his case file. (Doc. 133).
        Defendant mailed the present motion on May 17, 2024. In it, defendant asks for
an extension of time to file a Section 2255 motion, stating that he is unable to complete
his motion without access to various discovery materials. (Doc. 134). However, a one-
year limitations period applies to motions filed under Section 2255. See Title 28. United
States Code, Section 2255 (f); see also Taylor v. United States, 792 F.3d 865, 869 (8th
Cir. 2015). The limitations period runs from the latest of (1) the date on which the
judgment of conviction becomes final; (2) the date on which the impediment to making a
motion created by governmental action in violation of the Constitution or laws of the



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United States is removed, if the movant was prevented from making a motion by such
governmental action; (3) the date on which the right asserted was initially recognized by
the Supreme Court, if that right has been newly recognized by the Supreme Court and
made retroactively applicable to cases on collateral review; or (4) the date on which the
facts supporting the claim or claims presented could have been discovered through the
exercise of due diligence. Id. This one-year limitations period is a strict standard with
only a very narrow exception:
       [T]he Antiterrorism and Effective Death Penalty Act of 1996 imposed,
       among other things, a one-year statute of limitations on motions by
       prisoners under section 2255 seeking to modify, vacate, or correct their
       federal sentences. See Johnson v. United States, 544 U.S. 295, 299, 125
       S. Ct. 1571, 161 L.Ed.2d 542 (2005). The one-year statute of limitation
       may be equitably tolled “only if [the movant] shows ‘(1) that he has been
       pursuing his rights diligently, and (2) that some extraordinary circumstance
       stood in his way’ and prevented timely filing.” Holland v. Florida, 560
       U.S. 631, 130 S. Ct. 2549, 2562, 177 L.Ed.2d 130 (2010) (quoting Pace
       v. DiGuglielmo, 544 U.S. 408, 418, 125 S. Ct. 1807, 161 L.Ed.2d 669
       (2005)) (applicable to section 2254 petitions); see also United States v.
       Martin, 408 F.3d 1089, 1093 (8th Cir.2005) (applying same rule to section
       2255 motions).

Muhammad v. United States, 735 F.3d 812, 815 (8th Cir. 2013).
       Regardless of whether defendant is asking the Court to prospectively find that he
is entitled to equitable tolling, or to extend the deadline to file his Section 2255 motion,
the Court is aware of no authority which would allow it to do either. See Green v. United
States, 260 F.3d 78, 81 (2d Cir. 2001) (district courts do not generally have the authority
to grant a motion to extend the deadline to file a Section 2255 motion); see also United
States v. Miller, No. 06-CR-20080, 2008 WL 4541418, at *1 (C.D. Ill. Oct. 9, 2008).
Thus, to the extent defendant is requesting the Court extend the deadline for him to file
a Section 2255 motion, or find he is entitled to equitable tolling, his motion (Doc. 134)
is denied without prejudice.



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         Green, cited above, does state “[w]here a motion, nominally seeking an extension
of time, contains allegations sufficient to support a claim under section 2255, a district
court is empowered, and in some instances may be required, under Haines to treat that
motion as a substantive motion for relief under section 2255.” 260 F.3d at 83-84, citing
Haines v. Kerner, 404 U.S. 519, 520 (1972). However, Green was filed before Castro
v. United States, 540 U.S. 375, 383 (2003), which now requires a court to give a
defendant notice before reclassifying an untitled pro se filing as defendant’s first Section
2255 motion. Regardless, defendant’s present motion gives no indication of what issues
he wishes to raise in his Section 2255 motion. As such, there is no basis to treat his
motion for an extension of time as his actual Section 2255 motion.1
         Webb’s filing also discusses his issues obtaining discovery. Again, he cites no
law that allows a court to prospectively grant a defendant’s request to conduct discovery
for the purposes of drafting a Section 2255 motion, and the Court is aware of none.
Rather, the Court may direct discovery after a Section 2255 motion is filed. See Rule 6,
Rules Governing Section 2255 Proceedings. Thus, to the extent that Webb is requesting
discovery, that request is denied. The Clerk of Court office is directed to send Webb a
copy of his criminal docket sheet and inform him about the standard cost for copies.
         Webb also complains that prison officials are obstructing his ability to get
discovery. However, the Court has no power to consider that issue unless it is raised
pursuant to a proper procedural mechanism, such as the previously discussed discovery
motion filed after the Section 2255 motion is filed, or an exhausted Federal Tort Claims
Act case or complaint filed in the proper venue pursuant to Bivens v. Six Unknown Named
Agents of the Federal Bureau of Narcotics, 403 U.S. 388 (1971).




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    Upon receipt of his motion, the Clerk of Court sent defendant the standard Section 2255 form.

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       IT IS SO ORDERED this 20th day of May, 2024.



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                              C.J. Williams, Chief Judge
                              United States District Court
                              Northern District of Iowa




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